
PER CURIAM:
This claim was submitted for decision based on the allegations of the Notice of Claim and the respondent’s Answer.
Claimant seeks payment of the sum of $265.80 for overtime worked during the month of June, 1978.
In its Answer, the respondent admits the validity of the claim, but declares that the claimant is entitled to receive the amount of $259.20 under the laws of the State of West Virginia and not $265.80 as set forth in the Notice of Claim.
Respondent further states that there were sufficient funds remaining in the appropriation for the Department of Public Safety for the fiscal year in question from which the overtime could have been paid; however, said overtime request was not honored because it was not presented for payment within the fiscal year in which the services were rendered and the liability incurred.
' Based on the foregoing facts, an award in the amount of $259.20 is hereby made to the claimant.
Award of $259.20.
